            IN THE COURT OF CRIMINAL APPEALS
                        OF TEXAS
                            NOS. WR-93,347-02 &amp; WR-93,347-03


                    EX PARTE GREGORY SCOTT SIPPEL, Applicant


              ON APPLICATIONS FOR WRITS OF HABEAS CORPUS
         CAUSE NOS. 1430076-A &amp;1430077-A IN THE 180TH DISTRICT COURT
                            FROM HARRIS COUNTY


       KELLER, P.J. filed a dissenting opinion in which SLAUGHTER, J., joined.

                                   DISSENTING OPINION

       There are two cases here, and at least one of them, the – 02 case– is odd. Because I think we

need more information, I would remand these cases for further evidence and for findings.

                                   A. The -02: Hydrocodone

       In the -02, Applicant was charged with possessing at least 28 (and less than 200) grams of

hydrocodone. A variety of pills were found in Applicant’s possession:

       ! Two yellow oval pills with a scratched off imprint

       ! Two white oval pills with a scratched off imprint

       ! Two green oval pills with a scratched off imprint
                                                                           SIPPEL DISSENT — 2

       ! A Ziploc bag containing 63 blue oval pills labeled “Watson 540”.

The individual pills did not weigh much. One of the yellow pills weighed 0.302 grams and the

remaining yellow, white, and green pills weighed around 0.15 grams each. But the 63 blue pills in

the Ziploc bag together weighed just under 41 grams. It is obvious that the bag of blue pills is the

subject of the State’s indictment in the -02 case.

       The Court seems to suggest that the -02 is a “different drugs” case (one where testing reveals

the substance to be a different controlled substance than the one charged1) or a “lesser amount” case

(where the amount of controlled substance is less than what was charged) but an examination of the

report negates both of those possible conclusions. One each of the yellow, white, and green pills was

tested and found to contain Alprazolam. But that does not matter because only the bag of blue pills

weighed enough to meet the 28 gram threshold, and it was not found to contain a controlled

substance.

       And here is where the case gets odd. According to the laboratory report, the blue pills are

labeled “Watson 540.” That is a manufacturer’s label. A search of www.drugs.com indicates that

a blue oval pill with that label describes a combination of acetaminophen and hydrocodone bitartrate

supplied by Watson Laboratories, Inc. If these pills are genuine, they satisfied the indictment. If

they are counterfeit, then the -02 is like Ex parte Mable, where drug testing revealed that the

substance was not an illicit substance.2

       The laboratory report says, “No Compounds Confirmed by Standard Procedures.” I am not


       1
         See Ex parte Broussard, 517 S.W.3d 814, 820 (Tex. Crim. App. 2017) (Plea not necessarily
involuntary when testing showed substance to be a different controlled substance than the one
charged.).
       2
           443 S.W.3d 129, 130 (Tex. Crim. App. 2014).
                                                                           SIPPEL DISSENT — 3

entirely sure if “confirmed” means the same as “detected.” Like Judge Yeary, I am also concerned

that the “sampling plan” for this test provides a 95% confidence for “at least 75%” of the pills,

leaving the apparent possibility of 25% of the pills containing a controlled substance (though 25%

of 41 would be around 10 grams, which would fall below the 28 gram threshold for the grade of this

offense). I am also concerned about the statement, “One or more compounds were identified, but

not confirmed.” That sentence follows with a listing of “examples” that include but are not limited

to fillers, flavoring agents, additives, and botanical or fungal extracts. That qualifying sentence

suggests that the “identified” compounds are inactive ingredients, but I think we need a more explicit

explanation of what these sentences mean.

       All of this is to say I think we need some expert testimony explaining the various statements

made by the laboratory report in connection with the testing of the blue pills. And I think we need

to get evidence and findings on whether the testing shows the blue pills to be counterfeit or whether

we need more testing to arrive at such a conclusion.

                                        B. The -03: Heroin

       In the -03, Applicant was charged with possessing at least four grams (and less than 200

grams) of heroin.3 The laboratory report says that a syringe containing a brown liquid tested positive

for heroin with a weight of 0.268 grams. That weight is only slightly more than one-fifteenth of the

minimum weight of four grams needed to meet the grade of the offense charged. That seems like

a significant discrepancy, and like Judge Yeary, I think we need to know how such a discrepancy

occurred. Perhaps the weights involved are small enough that a mis-estimate of even this magnitude



       3
          The charging instrument says “more than 4 grams” but the statute says “four grams or more
but less than 200 grams.” TEX. HEALTH &amp; SAFETY CODE § 481.112(d).
                                                                           SIPPEL DISSENT — 4

is not unusual, but if that is the case, we need to hear from an expert how much of a discrepancy can

be expected and why. I have suggested that Mable should not necessarily control when the

laboratory testing merely shows a lesser amount of the controlled substance charged,4 but an

explanation for the discrepancy here might factor into how this sort of case should be treated.

       I would remand this case for further proceedings. Because the Court grants relief without

doing so, I respectfully dissent.

Filed: August 21, 2024
Publish




       4
           Ex parte Hooper, 685 S.W.3d 152, 153-54 (Tex. Crim. App. 2024) (Keller, P.J.,
dissenting).
